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 7
     Counsel for Plaintiff Richard Kontas
 8

 9                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
                             WESTERN DIVISION
11

12
     RICHARD KONTAS, individually and                Case No.: 2:22-cv-07019-PA-RAO
     on behalf of all others similarly situated,
13

14                       Plaintiff,                  PROOF OF SERVICE OF
                                                     SUMMONS UPON
15                v.                                 DEFENDANT LIVEFREE
16                                                   EMERGENCY RESPONSE,
     LIVEFREE EMERGENCY RESPONSE,                    INC.
17   INC.,
18
     Serve registered agent at:
19   Incorp Services, Inc.
20   919 North Market Street, Suite 950
     Wilmington, Delaware 19801
21

22                       Defendant.

23

24

25

26

27

28                               PROOF OF SERVICE OF SUMMONS
                                  CASE NO: 2:22-cv-07019-PA-RAO
Case 2:22-cv-07019-PA-RAO Document 12 Filed 11/18/22 Page 2 of 2 Page ID #:43
